 Case 1:22-cv-00252-MSG Document 16 Filed 05/06/22 Page 1 of 4 PageID #: 503




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 ARBUTUS BIOPHARMA CORPORATION                   )
 and GENEVANT SCIENCES GMBH,                     )
                                                 )
                       Plaintiffs,               )
                                                 )
                v.                               ) C.A. No. 22-252 (MSG)
                                                 )
 MODERNA, INC. and MODERNATX, INC.               ) JURY TRIAL DEMANDED
                                                 )
                       Defendants.               )

                 DEFENDANTS’ PARTIAL MOTION TO DISMISS
           PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6)

       Pursuant to Federal Rule of Civil Procedure 12(b)(6) and 28 U.S.C. § 1498(a), Defendants

Moderna, Inc. and ModernaTX, Inc. (collectively, “Moderna”) respectfully move to dismiss, with

prejudice, the claims of Plaintiffs Arbutus Biopharma Corporation’s and Genevant Sciences

GmbH’s Complaint relating to Moderna’s sale and provision of COVID-19 Vaccine doses to the

U.S. Government. The grounds for this motion are set forth more fully in Moderna’s opening brief,

submitted herewith.

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May 6, 2022
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 ARBUTUS BIOPHARMA CORPORATION                   )
 and GENEVANT SCIENCES GMBH,                     )
                                                 )
                       Plaintiffs,               )
                                                 )
                v.                               ) C.A. No. 22-252 (MSG)
                                                 )
 MODERNA, INC. and MODERNATX, INC.               )
                                                 )
                       Defendants.               )

                                     [PROPOSED] ORDER

       At Wilmington this ______ day of _________________, 2022:

       IT IS HEREBY ORDERED that Defendants Moderna, Inc.’s and ModernaTX, Inc.’s

Partial Motion to Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6) is GRANTED and

Plaintiffs’ claims relating to Moderna’s sale and provision of COVID-19 Vaccine doses to the U.S.

Government are DISMISSED with prejudice.



                                                       _________________________________
                                                           The Honorable Mitchell S. Goldberg
                                                                  United States District Judge
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 6, 2022, I caused the foregoing to be electronically filed with

the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

participants.

       I further certify that I caused copies of the foregoing document to be served on

May 6, 2022, upon the following in the manner indicated:

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